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Exhibit 6 – In re Nat’l Prescr. Opiate Litig., No. 1:17-md-2804 (N.D. Ohio Aug. 6, 2020)
(Doc. 3403)


Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment on Plaintiff
Cabell County Commission’s Right to Abatement
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    County of Lake, Ohio v.
          Purdue Pharma, L.P., et al.,
    Case No. 18-OP-45032

    County of Trumbull, Ohio v.
          Purdue Pharma, L.P., et al.,
    Case No. 18-OP-45079                                    
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          DQGLQJLYLQJFRQVWUXFWLRQWRDVWDWXWHWKH/HJLVODWXUHZLOOQRWEHSUHVXPHGRUKHOG
          WR KDYH LQWHQGHG D UHSHDO RI WKH VHWWOHG UXOHV RI WKH FRPPRQ ODZ unless the
          language employed by it clearly expresses or imports such intention

State ex rel. Morris v. Sullivan1(V\OODEXV 2KLR  HPSKDVLVDGGHG 3XWPRUH

VXFFLQFWO\DQLQWHQWWRDEURJDWHWKHFRPPRQODZ³PXVWEHH[SUHVVO\GHFODUHGE\WKHOHJLVODWXUHRU

QHFHVVDULO\LPSOLHGLQWKHODQJXDJHRIWKHVWDWXWH´LaCourse v. Fleitz1(G

    2KLR   FLWDWLRQ RPLWWHG ; see also Combs v. Ohio Dep’t of Nat. Res., Div. of Parks &

Recreation1(G 2KLR  ³LQWKHDEVHQFHRIODQJXDJHFOHDUO\VKRZLQJWKH

LQWHQWLRQWRVXSHUVHGHWKHFRPPRQODZWKHH[LVWLQJFRPPRQODZLVQRWDIIHFWHGE\WKHVWDWXWH

EXWFRQWLQXHVLQIXOOIRUFH´  LQWHUQDOTXRWDWLRQPDUNVDQGFLWDWLRQVRPLWWHG 

          $V3ODLQWLIIVQRWHGRHVQRWH[SUHVVO\DEURJDWHDQ\FRPPRQODZRUHTXLWDEOH

FDXVH RI DFWLRQ RU UHPHG\ DQG QHLWKHU GRHV DQ\ RWKHU VHFWLRQ RI &KDSWHU   'HVSLWH WKLV

'HIHQGDQWVFRQWHQGWKHUHLVDQH[FHSWLRQWRWKHMorrisVWDWXWRU\FRQVWUXFWLRQUXOHLW³DSSOLHVRQO\

WRWKHUHSHDORIµsettledUXOHVRIWKHFRPPRQODZ¶´'RFDW HPSKDVLVDGGHG 'HIHQGDQWV

DUJXHWKDW³GLYHUVLRQRIFRQWUROOHGVXEVWDQFHV´KDGQRPHDQLQJDWFRPPRQODZVRWKH*HQHUDO

$VVHPEO\KDGQRUHDVRQWRGHFODUHWKHFRPPRQODZZDVDEURJDWHG3XWGLIIHUHQWO\'HIHQGDQWV

DVVHUWWKDWFRPPRQODZSXEOLFQXLVDQFHFODLPVDVVHUWLQJGLYHUVLRQRIFRQWUROOHGVXEVWDQFHV³QHYHU

H[LVWHG LQ WKH ILUVW SODFH´id DW  VR WKHUH ZDV QR QHHG IRU  WR LQFOXGH ³ODQJXDJH

FOHDUO\VKRZLQJWKHLQWHQWLRQWRVXSHUVHGHWK>LV@FRPPRQODZ´Combs1(GDW

          'HIHQGDQWV¶ WKHRU\ KRZHYHU FRQVWUDLQV WKH Morris UXOH RI FRQVWUXFWLRQ WR DQ

XQVXSSRUWDEOH OHYHO RI VSHFLILFLW\ 'HIHQGDQWV LJQRUH WKDW 2KLR FRXUWV IRU PDQ\ GHFDGHV KDYH

UHFRJQL]HGD FRPPRQ ODZ FODLP IRU DEVROXWHSXEOLFQXLVDQFHEDVHGRQDGHIHQGDQW¶VXQODZIXO

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
  See alsoFrantz v. Maher1(G 2KLR&W$SS  ³$QLQWHQWLRQRIWKH*HQHUDO$VVHPEO\WR
DEURJDWHFRPPRQODZUXOHVPXVWEHPDQLIHVWHGE\H[SUHVVODQJXDJH7KHUHLVQRUHSHDORIWKHFRPPRQODZE\PHUH
LPSOLFDWLRQ´  In re Nicole Gas Prod., %5 %$3WK&LU  FLWLQJMorrisDQGDSSO\LQJWKHVDPH
UXOH 

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FRQGXFWSee, e.g.,Taylor v. Cincinnati1(G 2KLR 8QGRXEWHGO\WKH

*HQHUDO$VVHPEO\ZDVDZDUHRIWKHMorrisUXOHRIFRQVWUXFWLRQZKHQLWHQDFWHGDQG

FRXOGHDVLO\KDYHDEURJDWHGVRPHRUDOORIWKHH[LVWLQJVSHFLHVRIFRPPRQODZSXEOLFQXLVDQFH

FODLPV ZKHWKHU SUHPLVHG XSRQ GLYHUVLRQ RI FRQWUROOHG VXEVWDQFHV RU DQ\ RWKHU LQWHQWLRQDO

XQODZIXORUKD]DUGRXVFRQGXFW,QGHHGWKH*HQHUDO$VVHPEO\KDVDEURJDWHGYHU\VSHFLILFW\SHV

RIFRPPRQODZFODLPVLQRWKHUVWDWXWHVDVZHOODVHQWLUHFDWHJRULHVRIFRPPRQODZFODLPVSee,

e.g., 25& (  ³7KLV>VKDUHKROGHUOLDELOLW\@VHFWLRQLVLQWHQGHGWRFRGLI\WKHHOHPHQWV

RIWKHFRPPRQODZFDXVHRIDFWLRQIRUSLHUFLQJWKHFRUSRUDWHYHLODQGWRabrogate the common law

cause of action and remedies relating to piercing the corporate veil in asbestos claims´ 25&

 E  VWDWLQJWKDWFHUWDLQSURYLVLRQVLQWKH5HYLVHG&RGH ³DUH LQWHQGHG WRabrogate all

common law product liability claims or causes of action´ 7KHIDFWWKDWWKH/HJLVODWXUHGLGQRWGR

VRLQQHJDWHVDQ\SUHVXPSWLRQWKDWLWLQWHQGHGWRDEURJDWHDQ\DVSHFWRIWKHFRPPRQ

ODZMorris, 1(V\OODEXV

        2KLRFDVHODZIXUWKHUVXSSRUWVWKHFRQFOXVLRQWKDWWKH2KLR/HJLVODWXUHGLGQRWLQWHQGWR

DEURJDWHFRPPRQODZSXEOLFQXLVDQFHFODLPVRUUHPHGLHVZKHQLWHQDFWHG2KLRFRXUWV

KDYH UHSHDWHGO\ KHOG WKDW  DJHQHUDOQXLVDQFHVWDWXWHGRHVQRWVXSHUVHGHRUSUHHPSW

FRPPRQODZSXEOLFQXLVDQFHFODLPVSee, e.g., Pizza v. Sunset Fireworks Co., 1(G

 2KLR  ³>7@KHDSSHOODWHFRXUWFRQFOXGHGWKDWWKHH[LVWHQFHRI5&LQQRZD\

OLPLWHG WKH ULJKW RI D SURVHFXWRU WR LQLWLDWH DQ LQMXQFWLYH DFWLRQ LQ WKH FDVH RI D FRPPRQ ODZ

QXLVDQFH:HDJUHHZLWKWKHDSSHOODWHFRXUW´ Christensen v. Hilltop Sportsman Club, Inc.

1(G 2KLR&W$SS  ³$OWKRXJK5&&KDSWHUSURYLGHVDVWDWXWRU\

EDVLVIRUQXLVDQFHDFWLRQVZHGRQRWDFFHSWDSSHOODQW¶VDUJXPHQWWKDWWKHVWDWXWHVXSHUVHGHVDOO

FRPPRQODZ QXLVDQFH 7KHUH LV QR ODQJXDJH ZLWKLQ WKH VWDWXWH WKDW SURYLGHV WKDW LW ZDV WKH



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OHJLVODWXUH¶VLQWHQWWRVXSHUVHGHFRPPRQODZQXLVDQFHDQGQRFRXUWLQ2KLRKDVVRKHOG´ Haas

v. Sunset Ramblers Motorcycle Club, Inc.  1(G    2KLR &W $SS  

    ³$OWKRXJK 5&  SURYLGHV WKDW D SULYDWH FLWL]HQ DV ZHOO DV FHUWDLQ HQXPHUDWHG SXEOLF

RIILFLDOVKDVWKHULJKWWREULQJDQDFWLRQLQHTXLW\WRUHTXHVWDFRXUWWRDEDWHDSUHVXPDEO\SXEOLF

QXLVDQFH DQG WR HQMRLQ WKH GHIHQGDQW IURP IXUWKHU PDLQWHQDQFH RI VXFK QXLVDQFH WKHUH LV QR

ODQJXDJHLQWKHVWDWXWHWKDWSURYLGHVWKDWLWZDVWKHOHJLVODWXUH¶VLQWHQWWRVXSHUVHGHFRPPRQODZ

QXLVDQFH´ Winkelmann v. Cekada1(G 2KLR&W$SS  ³,QDGGLWLRQ

WKHFRPPRQODZWRUWRISULYDWHQXLVDQFHVXUYLYHGWKHHQDFWPHQWRI5&&KDSWHU´ 7KHVH

FDVHV DOO VWDQG IRU WKH SURSRVLWLRQ WKDW FRPPRQODZ QXLVDQFH FODLPV VKRXOG QRW EH GHHPHG

VXSHUVHGHGE\VWDWXWHDEVHQWFOHDUODQJXDJHWKDWVD\VVR



               &RPSUHKHQVLYH/HJLVODWLRQ

           8VLQJDQDUJXPHQWDQDORJRXVWRILHOGSUHHPSWLRQ'HIHQGDQWVDOVRDVVHUWWKHVSHFLILFLW\

DQGFRPSUHKHQVLYHQDWXUHRI2KLR¶VUHJXODWRU\VFKHPHJRYHUQLQJGLVWULEXWLRQDQGGLVSHQVLQJRI

FRQWUROOHGVXEVWDQFHVLPSOLHVDQLQWHQWE\WKH*HQHUDO$VVHPEO\WRGLVSODFHWKHFRPPRQODZDQG

³OLPLW>@ SXEOLF QXLVDQFH OLDELOLW\ WR WKH >LQMXQFWLYH@ UHOLHI SHUPLWWHG XQGHU 6HFWLRQ ´

'RFDWDW'HIHQGDQWVFLWHThompson v. Ford IRUWKHSURSRVLWLRQWKDW

FRPPRQ ODZ LV VXSHUVHGHG ZKHQ WKH *HQHUDO $VVHPEO\ HQDFWV ³JHQHUDO DQG FRPSUHKHQVLYH

OHJLVODWLRQSUHVFULELQJPLQXWHO\DFRXUVHRIFRQGXFWWREHSXUVXHGWKHSDUWLHVDQGWKLQJVDIIHFWHG

DQG HODERUDWHO\ GHVFULELQJ OLPLWDWLRQV DQG H[FHSWLRQV´  1(G   2KLR  

    TXRWLQJ6XWKHUODQG6WDWXWRU\&RQVWUXFWLRQ GHG ThompsonKRZHYHUGLGQRWKROG

WKDW WKH FRPSUHKHQVLYH QDWXUH RI D VWDWXWH QHFHVVDULO\ LPSOLHV OHJLVODWLYH LQWHQW WR GLVSODFH DOO

FRPPRQODZFDXVHVRIDFWLRQ5DWKHUDV3ODLQWLIIVFRUUHFWO\DVVHUWThompsonPHUHO\FRQFOXGHG

WKHVWDWXWRU\QHJOLJHQFHstandard of careGLVSODFHGWKHFRPPRQODZQHJOLJHQFHstandard of care

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'RF DW  1RWKLQJ LQ WKH GHFLVLRQ LQGLFDWHV DQ LQWHQW E\ WKH *HQHUDO $VVHPEO\ WKDW

FRPSUHKHQVLYH VWDWXWRU\ ODQJXDJH VKRXOG ZRUN WR DEROLVK FRPPRQ ODZ causes of action RU

DYDLODEOHUHPHGLHV

         'HIHQGDQWVDOVRDVVHUW2KLR¶VVWDWXWRU\VFKHPHJRYHUQLQJGDQJHURXVGUXJVLVDQDORJRXVWR

WKH IHGHUDO VFKHPH VHW RXW LQ WKH &RQWUROOHG 6XEVWDQFHV $FW ³&6$´  ³WKDW EDODQFHV WKH

FRPSHWLQJSXEOLFKHDOWKJRDOVRIPDNLQJPHGLFDWLRQVDYDLODEOHWRSDWLHQWVZKRQHHGWKHPDQG

FRQWUROOLQJDJDLQVWWKHLUDEXVH´'RFDW TXRWLQJGonzales v. Raich86

  1RWKLQJLQGonzalesKRZHYHUVXSSRUWV'HIHQGDQWV¶FRQWHQWLRQWKDWDVDPDWWHURI

ODZ2KLR¶VVWDWXWRU\VFKHPHSUHFOXGHVDFRPPRQODZSXEOLFQXLVDQFHFODLPEDVHGRQFRQGXFW

WKH VWDWXWH SURVFULEHV 7R WKH FRQWUDU\ WKLV &RXUW SUHYLRXVO\ KHOG WKDW HYHQ WKRXJK WKH

GLVWULEXWLRQRIFRQWUROOHGVXEVWDQFHVLVUHJXODWHGXQGHUDFRPSUHKHQVLYHIHGHUDOVFKHPHDFODLP

XQGHU 2KLR FRPPRQ ODZ IRU DEVROXWH QXLVDQFH LV QRW IRUHFORVHG See In re Nat’l Prescription

Opiate Litig.)6XSSGDW 'RFDW  UHMHFWLQJWKH'LVWULEXWRU'HIHQGDQWV¶

FRQWHQWLRQ WKDW ³WKH\ DUH QRW VXEMHFW WR QXLVDQFH OLDELOLW\ EHFDXVH WKHLU EXVLQHVV DFWLYLWLHV DUH

DXWKRUL]HGDQGH[WHQVLYHO\UHJXODWHGE\VWDWHDQGIHGHUDOODZ´ 



              &RGLILFDWLRQRIWKH&RPPRQODZDQG,UUHFRQFLODEOH&RQIOLFW

         'HIHQGDQWVQH[WRIIHUWKHUHODWHGDUJXPHQWWKDWWKH3ODLQWLIIV¶FRPPRQODZSXEOLFQXLVDQFH

FODLPVDUHSUHFOXGHGEHFDXVHWKH2KLROHJLVODWXUHKDV³FRGLILHG´WKHODZJRYHUQLQJGLVWULEXWLRQ

DQG GLVSHQVLQJ RI FRQWUROOHG VXEVWDQFHV DQG KDV QRW GHPRQVWUDWHG DQ LQWHQW IRU WKH VWDWXWRU\


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  ,QGonzalesWKH8QLWHG6WDWHV6XSUHPH&RXUWIRXQGWKDWDSSO\LQJWKH&6$¶VFULPLQDOSURYLVLRQVUHJDUGLQJWKH
PDQXIDFWXUHGLVWULEXWLRQRUSRVVHVVLRQRIPDULMXDQDWR&DOLIRUQLD¶VLQVWDWHJURZHUVDQGPHGLFDOPDULMXDQDXVHUVGLG
QRWYLRODWHWKH&RPPHUFH&ODXVHGonzales, 86DW,QUHDFKLQJWKLVFRQFOXVLRQWKHGonzalesFRXUWQRWHG
WKH&6$FUHDWHVD³FRPSUHKHQVLYHIUDPHZRUNIRUUHJXODWLQJWKHSURGXFWLRQGLVWULEXWLRQDQGSRVVHVVLRQRIµFRQWUROOHG
VXEVWDQFHV¶´PRVWRIZKLFK³KDYHDXVHIXODQGOHJLWLPDWHPHGLFDOSXUSRVHDQGDUHQHFHVVDU\WRPDLQWDLQWKHKHDOWK
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*HQHUDO$VVHPEO\KDVFRGLILHGWKHODZRQDVXEMHFW³XQOHVVWKHUHLVDFOHDUOHJLVODWLYHLQWHQWLRQ

H[SUHVVHGRUQHFHVVDULO\LPSOLHGWKDWWKHVWDWXWRU\SURYLVLRQVDUHPHUHO\FXPXODWLYH´WKHVWDWXWRU\

SURYLVLRQV JRYHUQ WR WKH H[FOXVLRQ RI SULRU QRQVWDWXWRU\ ODZ Metz v. Unizan Bank 

:/DW  1'2KLR)HE  FLWLQJBolles v. Toledo Trust Co.1(G

V\OODEXV 2KLR 

        'HIHQGDQWVDWWHPSWWRVXSSRUWWKHLUSRVLWLRQZLWKFDVHVLQYROYLQJFODLPVDULVLQJXQGHUWKH

8QLIRUP &RPPHUFLDO &RGH ³8&&´ See 'RF DW   FLWLQJ Alotech, Ltd. v.

Huntington Nat’l Bank  :/  DW  1' 2KLR -DQ    Amzee Corp. v.

Comerica Bank-Midwest:/DW  2KLR&W$SS0D\ Peters Family

Farm, Inc. v. Sav. Bank:/DW  2KLR&W$SS-DQ DQGBaggott v.

Piper Aircraft Corp.)6XSSG 6'2KLR 7KHVHFDVHVKRZHYHUDUHDOO

UHDGLO\GLVWLQJXLVKDEOH

        8QOLNH&KDSWHU ZKLFKDVGLVFXVVHGDERYHJRYHUQVWKH6WDWH¶VOLFHQVLQJUHJXODWRU\

DQGHQIRUFHPHQWSRZHUVUHJDUGLQJSKDUPDFLHVDQGGRHVQRWDGGUHVVFODLPVRUUHPHGLHVDYDLODEOH

WRSDUWLHVDWFRPPRQODZ WKH8&&FOHDUO\FRGLILHVWKHODZJRYHUQLQJFRPPHUFLDOWUDQVDFWLRQV

EHWZHHQSULYDWHSDUWLHVLQFOXGLQJUHPHGLHVSee, e.g.Metz, :/DW  8&&

 H[SUHVVHV WKH 2KLR OHJLVODWXUH¶V LQWHQW WR   ³VLPSOLI\ FODULI\ DQG PRGHUQL]H WKH ODZ

JRYHUQLQJFRPPHUFLDOWUDQVDFWLRQV´  ³SHUPLWWKHFRQWLQXHGH[SDQVLRQRIFRPPHUFLDOSUDFWLFHV

WKURXJK FXVWRP XVDJH DQG DJUHHPHQW RI WKH SDUWLHV´ DQG   ³PDNH XQLIRUP WKH ODZ DPRQJ

YDULRXV MXULVGLFWLRQV´  Baggott  ) 6XSSG DW  ³8&&     LV D FRGLILFDWLRQ RI

FRPPRQODZYRXFKHULQWKHFRQWH[WRIWKHVDOHRIJRRGV´ 0RUHRYHUWKH8&&LWVHOIH[SUHVVO\

SURYLGHV WKDW LWV SURYLVLRQV GLVSODFH VRPH²EXW QRW DOO²FRPPRQ ODZ FODLPV See Metz 



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WKH SULQFLSDOV RI ODZ DQG HTXLW\ VKDOO VXSSOHPHQW WKH 8&&¶V SURYLVLRQV  Alotech  :/

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         ,QWKH8&&FDVHVFLWHGE\'HIHQGDQWVWKHFRXUWVKHOGWKDWZKHUHWKH8&&JRYHUQVWKH

SDUWLFXODUFRQGXFWDWLVVXHDSODLQWLIIFDQQRWDVVHUWDconflictingFRPPRQODZFODLPWRFLUFXPYHQW

WKH OLDELOLWLHV UHVSRQVLELOLWLHV DQG UHPHGLHV SURYLGHG XQGHU WKH 8&& 'HIHQGDQWV KDYH QRW

VKRZQWKDWDOORZLQJWKH3ODLQWLIIV¶SXEOLFQXLVDQFHFODLPVWRSURFHHGZRXOGLQDQ\ZD\FRQIOLFW

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D FRQIOLFW EHWZHHQ VWDWXWRU\ FDXVHV RI DFWLRQ DQG GLG QRW DGGUHVV DQ DOOHJHG FRQIOLFW EHWZHHQ

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the Controlled Substances Act 'RF WKLV&RXUWKHOGWKDW³DVDPDWWHURIODZ6HFWLRQ

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explicitlyUHTXLUHVSKDUPDFLHVWRFROOHFWSUHVFULSWLRQGDWDDQGXVHLWWRPRQLWRUIRUTXHVWLRQDEOH

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          DQGDGGUHVVRIWKHSHUVRQWRZKRPLWZDVGLVSHQVHGWKHGDWHRIGLVSHQVLQJWKH
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          RI WKH LQGLYLGXDO ZKR GLVSHQVHG RU DGPLQLVWHUHG WKH >FRQWUROOHG@ VXEVWDQFH RQ
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person ZKLFK WR EH FOHDU LQFOXGHV FRUSRUDWH HQWLWLHV  ZKR GLVSHQVHV RU GHOLYHUV D FRQWUROOHG

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SKDUPDFLVW@and Respondent [a pharmacy]IDLOHGWRFRPSO\ZLWKWKHLUFRUUHVSRQGLQJUHVSRQVLELOLW\XQGHUIHGHUDO
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 ³Respondent [pharmacy] WKXV YLRODWHG  &)5  E\ ILOOLQJ WKHVH >LOOHJDO@ SUHVFULSWLRQV´  Issuance of
Multiple Prescriptions for Schedule II Controlled Substances)5 '($1RY  ³SK\VLFLDQV
and pharmaciesKDYHDGXW\DV'($UHJLVWUDQWVWRHQVXUHWKDWWKHLUSUHVFULELQJDQGGLVSHQVLQJRIFRQWUROOHGVXEVWDQFHV
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Requirements Under the Controlled Substances Act for Prescribing Controlled Substances)5 '($$XJ
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       GUXJVIRUDQ\SXUSRVHRWKHUWKDQIRUWKDWSHUVRQ¶VRZQXVHDQGFRQVXPSWLRQ

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       VDOHRURWKHUGLVWULEXWLRQby or under the supervision of a pharmacist«DXWKRUL]HG
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GLYHUVLRQLIWKHLUSKDUPDF\HPSOR\HUGRHVQRWSURYLGHXVHIXODFFHVVWRWKH³UHGIODJUHYHDOLQJ´

GDWDLWKDVJDWKHUHG

        $OWKRXJKWKH&6$LVQRWSHUIHFWO\FOHDUDERXWZKDWDSKDUPDF\UHJLVWUDQWPXVWGRZLWKWKH

SUHVFULSWLRQGDWDLWPXVWFROOHFWZKDWLVFOHDULVWKDWDSKDUPDF\LVUHTXLUHGWR  FROOHFWDQG



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PDLQWDLQVSHFLILFUHFRUGVDQGGDWDUHJDUGLQJLWVGLVSHQVLQJDFWLYLW\  HPSOR\DSURSHUO\OLFHQVHG

SKDUPDFLVWDQG  SURSHUO\GLVSHQVHFRQWUROOHGVXEVWDQFHVDQGDYRLGGLYHUVLRQ7KHUHIRUHERWK

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GR QRWKLQJ ZLWK WKHLU FROOHFWHG GDWD DQG OHDYH WKHLU SKDUPDFLVWHPSOR\HHV ZLWK WKH VROH

UHVSRQVLELOLW\WRHQVXUHRQO\SURSHUSUHVFULSWLRQVDUHILOOHG3RVVHVVLQJ\HWGRLQJQRWKLQJZLWK

LQIRUPDWLRQ DERXW SRVVLEOH GLYHUVLRQ ZRXOG DFWXDOO\ facilitate GLYHUVLRQ DQG WKXV YLRODWH WKH

&6$¶VIXQGDPHQWDOPDQGDWHWKDW³All applicants and registrants shall provide effective controls

and procedures to guard against theft and diversion of controlled substances´ &)5

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        ,QVXPWKH&RXUWFRQFOXGHVWKH3KDUPDF\'HIHQGDQWVKDYHIDLOHGWRPHHWWKHLUEXUGHQRI

GHPRQVWUDWLQJWKHUHLVQRFRUSRUDWHOHYHOREOLJDWLRQWRGHVLJQDQGLPSOHPHQWV\VWHPVSROLFLHVRU

SURFHGXUHVWRLGHQWLI\UHGIODJSUHVFULSWLRQV$QGWKH3KDUPDF\'HIHQGDQWV¶XOWLPDWHDUJXPHQW²

WKDWWKH\FDQQRWEHOLDEOHWR3ODLQWLIIVEHFDXVHRQO\WKHLUSKDUPDFLVWHPSOR\HHVDUHUHVSRQVLEOHIRU

SUHYHQWLQJGLYHUVLRQRIRSLRLGVYLDLOOHJLWLPDWHSUHVFULSWLRQV²LVSUHPLVHGXSRQDWRUWXUHGUHDGLQJ

RIWKH&6$DQGLWVUHJXODWLRQV%HFDXVH'HIHQGDQWV¶UHDGLQJRIWKH&6$LVDQWLWKHWLFDOWRLWVYHU\

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          & 2KLR$EVROXWH3XEOLF1XLVDQFH

        3ODLQWLIIVDOOHJHFRPPRQODZFODLPVIRUDEVROXWHSXEOLFQXLVDQFHEDVHGRQWKH3KDUPDF\

'HIHQGDQWV¶ DOOHJHG LQWHQWLRQDO DQG XQODZIXO PLVFRQGXFW LQYROYLQJ ERWK distribution DQG

dispensingRISUHVFULSWLRQRSLRLGV7RWKHH[WHQWWKHVHFODLPVDUHEDVHGRQdispensing DFWLYLWLHV

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         $³SXEOLFQXLVDQFH´LVDQXQUHDVRQDEOHLQWHUIHUHQFHZLWKDULJKWFRPPRQWRWKHJHQHUDO

SXEOLFLQFOXGLQJWKHULJKWVWRSXEOLFKHDOWKDQGSXEOLFVDIHW\Cincinnati v. Deutsche Bank Nat’l

Trust Co.)G WK&LU &incinnati v. Beretta USA Corp.1(G

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v. Norfolk S. Ry. Co.)6XSSG 1'2KLR  FLWDWLRQRPLWWHG $Q³DEVROXWH´

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VXIILFLHQWO\VXSSRUWDQDEVROXWHSXEOLFQXLVDQFHFODLPXQGHU2KLRODZSee, e.g.,In re Nat’l Prescription Opiate Litig.
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Opinion and Order Regarding Manufacturers’ Summary Judgment Motion in Track One,In re Nat’l Prescription
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GHIHQGDQWV¶DOOHJHGIDLOXUHWRPDLQWDLQDQWLGLYHUVLRQFRQWUROVSUHFOXGHGVXPPDU\MXGJPHQWRQ2KLRDEVROXWHSXEOLF
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ULJKWWREHIUHHIURPWKHQHJDWLYHFRQVHTXHQFHVDOOHJHGO\VXIIHUHGDVDUHVXOWRIWKHRSLRLGHSLGHPLFSee 'RF
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  $Q³DEVROXWH´QXLVDQFHFDQDOVREHEDVHGRQQRQFXOSDEOHFRQGXFWE\WKHGHIHQGDQWWKDWUHVXOWVLQ³DFFLGHQWDOKDUP
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LPSOHPHQWHGSHUIRUPDQFHPHWULFVDQGSUHVFULSWLRQTXRWDVWRLQFUHDVHGLVSHQVLQJRIRSLRLGV Y 

³IDFLOLWDWHG WKH VXSSO\ RI IDU PRUH RSLRLGV WKDQ FRXOG KDYH EHHQ MXVWLILHG WR VHUYH D OHJLWLPDWH

PDUNHW´ YL NQRZLQJO\ ZRUNHG LQ FRQFHUW ZLWK RSLRLG PDQXIDFWXUHUV ³WR HQVXUH WKDW IDOVH

PHVVDJLQJVXUURXQGLQJWKHWUHDWPHQWRISDLQDQGWKHWUXHDGGLFWLYHQDWXUHRIRSLRLGVZDVFRQVLVWHQW

DQGJHDUHGWRLQFUHDVHSURILWVIRUDOOVWDNHKROGHUV´ YLL ³ZRUNHGWRJHWKHUWRHQVXUHWKDWWKHRSLRLG

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SURSHUGLVSHQVLQJRIFRQWUROOHGVXEVWDQFHV7KHVHDOOHJDWLRQVSURYLGHDQDGGLWLRQDODQGDOWHUQDWLYH

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